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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF VIRGINIA
                               Alexandria Division

 RAMONA RAE GOMEZ,                             )
    Plaintiff,                                 )
                                               )
               v.                              )         Case No. 1:16-cv-1433
                                               )
 HAYSTAX TECHNOLOGY, INC. et                   )
 al,                                           )
     Defendants.                               )

                               MEMORANDUM OPINION

        Plaintiff, Ramona Rae Gomez, a 57-year old disabled female, filed this

 employment discrimination suit after defendants Haytax Technology, Inc. and

 NetCentrics, Inc. terminated her in February 2016. Plaintiff contends that defendants

 terminated her because of her sex, age, disability, and in retaliation for having taken

 protected medical leave. Plaintiff allegations include: (i) Disability discrimination in

 violation of the Americans with Disabilities Act (“ADA”), 42 U.S.C. § 12101, (ii) Family

 and Medical Leave Act (“FMLA”) retaliation, in violation of 29 U.S.C. § 2615(a)(2), (iii)

 sex discrimination, in violation of Title VII of the Civil Rights Act of 1964, as amended,

 42 U.S.C. § 2000e et seq., and (iv) age discrimination, in violation of the Age

 Discrimination in Employment Act (“ADEA”), 29 U.S.C.A. § 623.

        Following full discovery, defendant filed a motion for summary judgment. As the

 matter has now been fully briefed and argued, it is ripe for disposition.




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                                              I.

    The entry of summary judgment is appropriate only where there are no genuine

 disputes of material fact. See Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986). That is

 the situation here. Pursuant to Local Rule 56(B) and the Rule 16(b) Scheduling Order, a

 motion for summary judgment must contain a separately captioned section listing in

 numbered-paragraph form all material facts as to which the movant contends no genuine

 dispute exists. See Gomez v. Haystax Technology, Inc. et al, No. 1-16-cv-1433 (E.D. Va.

 Mar. 8, 2017) (Doc. 16). The Local Rule and Scheduling Order further provide that the

 non-movant must include “a separately captioned section within the brief addressing, in

 numbered-paragraph form corresponding to the movant’s section, each of the movant’s

 enumerated facts and indicating whether the non-movant admits or disputes the fact with

 appropriate citations to the record.” Id. Finally, the Scheduling Order states that the

 “Court may assume that any fact identified by the movant as undisputed in the movant’s

 brief that is not specifically controverted in the non-movant’s brief in the manner set forth

 above is admitted for the purpose of deciding the motion for summary judgment.” Id.

        Both parties largely complied with Local Rule 56(B) and the Scheduling Order.

 Although defendants originally failed to provide a pleading enumerating in separately

 numbered-paragraph form all of the material undisputed facts, that error was promptly

 corrected. In response, plaintiff disputed a number of defendants’ proposed undisputed

 facts, but did not address or dispute the remaining facts.

        As a result, the statement of undisputed material facts listed here is based on

 defendants’ statement of undisputed facts, the majority of which the plaintiff does not

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 specifically dispute. As for plaintiff’s briefs that pre-date the defendants’ filing of their

 statement of undisputed material fact, those briefs have been scoured for facts that

 arguably could be viewed as conflicting with the facts recited here; where such facts were

 found, they were either immaterial or not supported, as required, by admissible record

 evidence.

                                              A.

         Plaintiff, Ramona Rae Gomez, is a 57-year old disabled woman who was

 employed by defendants from May 14, 2013 through March 1, 2016 as a program

 manager.     Haystax Technology, Inc., one of the defendants, is a corporation

 headquartered in McLean, Virginia. Its subsidiary, NetCentrics Corporation, employed

 plaintiff to assist with its government contract work, mostly related to IT projects.

         In May 2013, plaintiff was hired to work as a program manager for a contract with

 the Consumer Financial Protection Bureau (“CFPB”).             During the CFPB contract,

 plaintiff went on medical leave for hip surgery from September 13 through November 24,

 2014.    Although plaintiff generally performed her work satisfactorily, NetCentrics

 president, Cynthia Barreda, hoped that plaintiff would be able to grow the CFPB work.

         When the CFPB contract came up for a rebid, and while plaintiff was out on

 medical leave, NetCentrics failed to win the rebid on the contract. On October 21, 2014,

 while plaintiff was still on medical leave, she was reassigned to a new contract, known as

 the Network Stabilization Contract. Specifically, plaintiff was assigned to work as a

 senior program manager on Task D. When plaintiff returned from medical leave on



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 November 24, 2014, she began working as a senior program manager, and continued to

 work on Task D until September 2015.

        On April 21, 2015, during her assignment to Task D, plaintiff informed

 NetCentrics that she was scheduled to have hip surgery on December 11, 2015, and

 would be out of work for approximately six weeks. NetCentrics approved plaintiff’s

 request for leave at that time.

        In June 29, 2015, while plaintiff was still working as a senior program manager on

 Task D, NetCentrics listed plaintiff as “key personnel” on a bid for a Coast Guard

 contract known as the TESS contract.       During that June, plaintiff assisted with the

 proposal for TESS.

        In July 2015, NetCentrics was required to engage in a re-compete process for Task

 D of the Network Stabilization Contract, the contract to which plaintiff was assigned.

 Because NetCentrics could not re-compete as a prime contractor, it partnered with a

 company called Trowbridge & Trowbridge to work as a subcontractor on Task D, now

 renamed TED. Although Trowbridge won the contract and NetCentrics was slated to

 work as a subcontractor on TED, NetCentrics was given only 25 of the 45 positions it

 previously held on Task D. As a result, a number of NetCentrics employees would have

 to be removed from TED or terminated.

        In September 2015, NetCentrics held a meeting with plaintiff and other employees

 working on Task D and gave them termination letters stating that as a result of the loss of

 the Task D contract, their last day would be September 30, 2015 and that they should

 look for alternative positions. NetCentrics ultimately terminated a number of Task D

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 employees, including four men, Claude Blair, Kevin Fu, Chandra Muppala, and David

 Whitney, and one woman, Erin Lewis.

        On the same day NetCentrics held a termination meeting with Task D employees,

 plaintiff spoke to a supervisor about why she had received the termination letter. Plaintiff

 was told that she would not be terminated, but would instead continue working as

 “overhead” at NetCentrics headquarters until the Coast Guard contract, TESS, was won.

 Based on plaintiff’s conversation with her supervisor, her termination letter was

 rescinded.

        On October 1, 2015, NetCentrics won TESS and plaintiff began working on

 TESS. Shortly after work on TESS began, however, a Stop Work notice was issued due

 to a protest of the award of the TESS contract to NetCentrics. Plaintiff could not perform

 any more billable work on TESS, but she continued to do some work related to TESS,

 including creating job descriptions for various roles associated with the project. Plaintiff

 continued to prepare for TESS until her scheduled surgery on December 11, 2015.

        Plaintiff did not return to work until January 25, 2016. When plaintiff returned,

 she was using crutches and could not perform manual labor.           On the day plaintiff

 returned, Melissa Bristol emailed plaintiff, welcoming her back and requesting that she

 send a plan for her work for the week on TESS. Plaintiff continued to work on overhead

 in anticipation of the protest of TESS being lifted.

        On February 16, 2016, NetCentrics was informed that it had lost TESS as a result

 of the protest process. Plaintiff learned about it the same day, and on February 19, 2016,

 Barreda met with plaintiff and instructed her to contact Caron Hummer, an internal

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 recruiter, to determine if alternative positons within NetCentrics were available. Barreda

 also told plaintiff that if she could not find another position within the company, she

 would be terminated at the end of the month.

        On February 19, 2016, plaintiff met with Hummer to look for other jobs within the

 company and Hummer indicated that there were no jobs available at her level. After that

 meeting, plaintiff left NetCentrics and did not return to work until her out-processing on

 February 26, 2016. On February 29, 2016, plaintiff was given her termination memo and

 was offered four weeks’ severance. On March 1, 2016, NetCentrics president Barreda

 terminated plaintiff.

                                            B.

        Plaintiff points to the treatment of a number of other employees at NetCentrics as

 evidence that plaintiff was terminated for discriminatory reasons, and as such a brief

 statement of the facts concerning those employees is necessary.

    1. Courtney Davis (“Davis”) was hired as a Software Development Project

        Manager/Deputy Program Manager on Task D in January 2013 at a salary

        of $118,000. Davis worked with plaintiff on Task D. On September 29,

        2015, Davis was informed that Task D was ending on September 30, 2015

        and that her last day would be September 30, 2015 unless she found another

        position.   During September and October 2015, as Task D was being

        terminated, Davis began working on a proposal for a contract with U.S.

        Securities and Exchange Commission (“SEC”). Davis was allowed to stay

        on overhead while NetCentrics awaited the resulted of the SEC bid.

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       NetCentrics ultimately lost the SEC bid, but at the client’s request Davis

       was reassigned to work as a Deputy Program Manager on Task B of the

       Network Stabilization contract.

    2. Jill Czelusniak (“Czelusniak”) worked as a program manager on Task B of

       the Network Stabilization contract. On September 16, 2015, the client

       asked that Czelusniak be removed from that position, and NetCentrics

       terminated her.

    3. Darryl Yaplee (“Yaplee”) was hired on May 11, 2015 as a program

       manager on Task D at a salary of $150,000. When NetCentrics lost Task D

       on September 29, 2015, Yaplee was transferred to work on overhead at

       NetCentrics headquarters. Yaplee helped NetCentrics to finish up some of

       the work on closing the Task D contract and transitioning Task D to the

       new company taking it over. Yaplee was allowed to stay in a temporary

       position on overhead until April 1, 2016. Though Yaplee was originally

       scheduled to be terminated in March 2016, he was allowed to stay to

       continue his work assisting with the Task D transition.

    4. Carver Pace (“Pace”) applied for and was offered a position as a Cyber

       Security program manager on February 8, 2016. Pace was offered this

       position in part due to his extensive cyber security experience

    5. Matt Parsons (“Parsons”), another employee, was hired in January 2016 to

       work as a program manager on the Coast Guard contract, TESS. Parsons

       only accepted the job at NetCentrics because he was promised that if TESS

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       was lost NetCentrics would find him another position at the company.

       Following the termination of TESS, Parsons was reassigned to a Senior

       Account Executive position at NetCentrics headquarters, a position that

       NetCentrics felts plaintiff was not qualified for.

    6. Susan Kuiler (“Kuiler”) was hired to work as a program manager at

        NetCentrics in July 2014. Kuiler, just like plaintiff, had hip surgery during

        her time at NetCentrics. In 2015, the contract Kuiler was working on was

        terminated. As a result, NetCentrics reassigned Kuiler to work on TED. At

        the request of the client, Kuiler was removed from TED and was ultimately

        terminated by NetCentrics.

    7. Jill Czelusniak (“Czelusniak”) took short-term disability leave in 2015

        while working at NetCentrics as a Program Manager. In September 2015,

        she was terminated by NetCentrics at the request of the government client.

                                             II.

        Summary judgment is appropriate “if the movant shows that there is no genuine

 dispute as to any material fact and the movant is entitled to judgment as a matter of law.”

 Rule 56(a), Fed. R. Civ. P. A “fact is material if it might affect the outcome of the suit

 under the governing law.” Vannoy v. Fed. Reserve Bank of Richmond, 827 F.3d 296, 300

 (4th Cir. 2016) (internal quotation marks omitted). A “dispute is genuine if a reasonable

 jury could return a verdict for the nonmoving party.” Id. (internal quotation marks

 omitted). The movant bears the burden of showing an absence of a genuine issue of

 material fact. Celotex, 477 U.S. at 323. Once the movant has met this burden, the non-

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 moving party, to defeat the motion, must set forth specific facts showing that there is a

 genuine issue for trial. Covenant Media Of SC, LLC v. City Of N. Charleston, 493 F.3d

 421, 436 (4th Cir. 2007). In the analysis, the facts must be construed “in the light most

 favorable” to the non-movant, and all reasonable inferences must be drawn in the non-

 movant’s favor. Vannoy, 827 F.3d at 300. Only “disputes over facts that might affect the

 outcome of the suit under the governing law will properly preclude the entry of summary

 judgment.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

        Plaintiff asserts claims for unlawful discrimination under Title VII, the ADEA,

 and the ADA based on her February 26 termination. 1 She also asserts a separate claim

 under the FMLA for unlawful retaliation based on her termination that occurred after

 taking protected medical leave in December 2015. Plaintiff does not contend that she can

 establish any of her discrimination claims through direct evidence of discrimination, and

 thus as both parties correctly agree the familiar McDonnell Douglas burden-shifting

 scheme applies here. Under the first step of that scheme, the plaintiff “has the burden to

 establish a prima facie case.” Lettieri v. Equant Inc., 478 F.3d 640, 646 (4th Cir. 2007). If



 1
    The crux of plaintiff’s claim is that she was wrongfully terminated in February 2016.
 Plaintiff’s Amended Complaint does include a number of other allegations, including that her
 veteran status was used to secure contracts, that she was transferred from contract to contract by
 defendants, and that she allegedly did not receive work assignments after returning from leave.
 For some of these allegations, it is unclear that they constitute “adverse employment actions’
 because they do not “affect hiring, granting leave, discharging, promoting, or compensating.”
 Brockman v. Snow, 217 Fed.Appx, 201, 205 (4th Cir. 2007) (unpublished) (citing Page v.
 Bolger, 645 F.2d 227, 233 (4th Cir. 1981)). More importantly, plaintiff failed to exhaust these
 claims through the administrative complaint process. See Gomez v. Haystax Technology, Inc. et
 al, No. 1:16-cv-1433, (E.D. Va. Oct. 17, 2017) (Doc. 180). Thus, the only discriminatory action
 alleged by the plaintiff was her ultimate termination in February 2016, and associated with that,
 the failure to reassign her to any other contracts.
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  plaintiff can establish a prima face case of discrimination, the “burden shifts to the

  employer at the second step to articulate a legitimate, nondiscriminatory reason for the

  adverse employment action.” Id. (internal quotation marks omitted). The burden then

  returns to the plaintiff “to show that the employer’s proffered permissible reason for

  taking an adverse employment action is actually a pretext for discrimination.” Id.

  (internal quotation marks omitted). The plaintiff must “prove by a preponderance of the

  evidence that the legitimate reasons offered by the employer were not its true reasons, but

  were a pretext for discrimination.” Id. (internal quotation marks and brackets omitted).

  At the third step, “the burden to demonstrate pretext merges with the ultimate burden of

  persuading the court that the plaintiff has been the victim of intentional discrimination.”

  Id. at 646–47 (internal quotation marks and brackets omitted). Plaintiff’s ADA claim is

  addressed first, followed by her ADEA claim, her Title VII sex discrimination claim, and

  finally, her FMLA retaliation claim.

                                                A.

         Plaintiff contends that her termination in February 2016 violated the ADA. The

  ADA provides that “[n]o covered entity shall discriminate against a qualified individual

  on the basis of disability in regard to . . . discharge . . . [or] other terms, conditions, and

  privileges of employment.” 42 U.S.C. § 12112(a). To survive summary judgment,

  plaintiff must prove “(1) that she has a disability, (2) that she is a ‘qualified individual’

  for the employment in question, and (3) that [her employer] discharged her (or took other

  adverse employment action) because of her disability.” EEOC v. Stowe-Pharr Mills,



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  Inc., 216 F.3d 373, 377 (4th Cir. 2000); see also Jacobs v. N.C. Administrative Office of

  the Courts, 780 F.3d 562 (4th Cir. 2015).

         Although defendant, for summary judgment purposes, does not dispute that

  plaintiff has a disability and that she is a qualified individual under the ADA, the parties

  do dispute the third requirement of plaintiff’s prima facie case, namely whether the

  undisputed record evidence shows a triable issue of fact with respect to whether

  defendants discharged plaintiff because of her disability.

         The record reflects that plaintiff was terminated because the contract on which she

  was working ended. To overcome this, and to establish a prima facie case in this respect,

  plaintiff points to the reassignment to new contracts of two non-disabled individuals who

  worked with her on Task D. This argument fails, as the undisputed record reflects first

  that five non-disabled employees who worked with plaintiff on Task D were also

  terminated once the contract had been lost, suggesting that the defendants’ proffered

  reason for terminating plaintiff —that the contract she was working on was terminated—

  was not pretextual. Moreover, this argument fails because the record establishes that

  plaintiff’s disability, the inability to walk for long periods and to engage and vigorous

  physical activity, was never discussed as a reason for her termination or by anyone

  employed by defendants. In sum, plaintiff has no evidence of discriminatory intent

  beyond temporal proximity; she was terminated two months following the surgery that

  led to her disability.

         With respect to proof via temporal proximity, the Supreme Court has stated that

  the “cases that accept mere temporal proximity between an employer’s knowledge of

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  protected activity and an adverse employment action as sufficient evidence of causality to

  establish a prima facie case uniformly hold that the temporal proximity must be very

  close.” Clark Cty. Sch. Dist. v. Breeden, 532 U.S. 268, 273–74 (2001) (internal quotation

  marks omitted). The Fourth Circuit has held that a gap of two months and two weeks

  between termination and awareness of protected activity undermines an inference of

  causation. See King v. Rumsfeld, 328 F.3d 145, 151 n. 5 (4th Cir. 2003). In another case,

  the Fourth Circuit found that a month-long gap between leave and termination paired

  with an allegation that a job was given to the plaintiff as a “sham” was insufficient to

  permit a jury to conclude that the plaintiff was fired in retaliation for taking protected

  leave. See Waag v. Sotera Defense Solutions, Inc., 857 F.3d 179, 190 (4th Cir. 2017).

        Based on these precedents, it is unclear whether a two month gap would be

  enough for plaintiff to establish that her termination was caused by her employer’s

  awareness of her disability. Assuming without deciding that two months is enough,

  plaintiff’s claim still fails because the defendant had a legitimate, non-discriminatory

  reason for terminating plaintiff, and plaintiff cannot show that those reasons were

  pretextual. Defendant’s burden at the second step is one of production, not persuasion.

  Warch v. Ohio Casualty Insurance Co., 435 F.3d 510, 514 (4th Cir. 2006). Defendant

  satisfies that burden here because their proffered reason for terminating plaintiff—the

  loss of the TESS contract and the inability to afford to keep plaintiff on overhead—is a

  legitimate, non-discriminatory reason for terminating plaintiff’s employment. See

  Birkbeck v. Marvel Lighting Corp., 30 F.3d 507, 511-12 (4th Cir. 1994) (holding that



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  elimination of a department was a legitimate, non-discriminatory reason to terminate an

  employee even where some employees were retained on staff).

        The burden then shifts back to plaintiff to show pretext, which plaintiff can do

  “either by showing that [the defendants’] explanation is unworthy of credence or by

  offering other forms of circumstantial evidence sufficiently probative of []

  discrimination.” Mereish v. Walker, 359 F.3d 330, 335 (4th Cir. 2004) (internal quotation

  marks omitted). Plaintiff argues that defendants’ reason for firing her is pretextual

  because the defendants retained Courtney Davis and Darryl Yaplee, non-disabled

  individuals who were originally assigned to Task D just as the plaintiff was. But the

  mere fact that non-protected individuals were retained is not sufficient to demonstrate

  that the defendants’ actions were pretextual. See Birkbeck v. Marvel Lighting Corp., 30

  F.3d 507, 512 n. 2 (4th Cir. 1994) (retention of a single employee in a department who

  was not in the protected class was insufficient demonstrate pretext); see also Simpson v.

  Midland-Ross Corp., 823 F.2d 937, 942 n. 6 (6th Cir. 1987) (same). The undisputed

  record evidence shows that five non-disabled individuals working on Task D were also

  not reassigned following termination of that contract. Only two individuals working on

  Task D – Davis and Yaplee – were reassigned to new positions within NetCentrics, See

  supra Part I.B.   Importantly, these two individuals were hired for new jobs within

  NetCentrics for specific, legitimate reasons not applicable to plaintiff. Davis and Yaplee

  were retained for specific, legitimate reasons not applicable to plaintiff. Davis was

  moved to Task B as a Deputy Program Manager because the customer on that contract

  specifically asked for her to be assigned to that contract. Yaplee was given a temporary

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  position with defendants in order to assist Puckett with the transition and closure of the

  Task D project, but he, too, was ultimately terminated in April 2016, only a month or so

  after plaintiff’s termination, once Yaplee’s task assisting Puckett was completed. Thus,

  at best, the record supports a finding that one individual assigned to Task D was retained,

  Courtney Davis, and that retention was at the specific request of a client, not due to any

  discriminatory preference on the part of defendants.

         Defendant has put forward “reason[s] for [terminating] plaintiff not forbidden by

  law,” and as a result it is inappropriate to “decide whether the reason[s] [were] wise, fair,

  or even correct, ultimately, so long as [they] truly [were] the reason[s] for plaintiff's

  [demotion and termination].” Id. (quotation marks omitted). Indeed, the Fourth Circuit

  has made clear that anti-discrimination laws are “not a vehicle for substituting the

  judgment of a court for that of the employer,” and that a court does not “sit as a kind of

  super-personnel department weighing the prudence of employment decisions made by

  firms charged with employment discrimination.” Id. at 298–99 (internal quotation marks

  omitted).   Defendants’ decision to terminate plaintiff and the defendant’s failure to

  reassign her to a new contract may not have been “wise, fair, or even correct,” but the

  facts viewed in the light most favorable to the plaintiff do not show that defendants’

  proffered reasons for demoting and firing plaintiff were false and that disability was the

  real reason for her termination. See id. (internal quotation marks omitted). As a result,

  summary judgment in favor of defendants on plaintiff’s ADA claim is warranted.




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                                                  B.

         The ADEA prohibits an employer from “discharg[ing] any individual or otherwise

  discriminat[ing] against any individual with respect to his compensation, terms,

  conditions, or privileges of employment, because of such individual's age.” 29 U.S.C. §

  623(a)(1). To establish a prima facie case of age discrimination, plaintiff must prove: (1)

  that she was protected by the ADEA, (2) that she suffered an adverse employment action,

  (3) that she “was performing [her] job at a level that met his employer's legitimate

  expectations” at “the time of” the adverse employment action, and (4) that she was

  replaced by a substantially younger worker. Mitchell v. Data Gen. Corp., 12 F.3d 1310,

  1315 (4th Cir. 1993): see also Dugan v. Albemarle Cty. Sch. Bd, 293 F.3d 716, 721 (4th

  Cir. 2002). Ultimately, the plaintiff “must prove, with reasonable probability, that but for

  the age of the plaintiff, the adverse employment decision would not have been made.”

  Mitchell, 12 F.3d at 1315. Defendants do not dispute that plaintiff, who is over 40, is a

  member of the class protected by the ADEA, and that plaintiff performed her job at a

  level that met her employer’s expectations. Defendants also concede that the February

  2016 termination was an adverse employment action. As a result, the only disputed

  element of plaintiff’s prima facie case is whether plaintiff’s duties were taken over by

  substantially younger employees. 2 Specifically, defendants argue that plaintiff’s duties


  2
    Defendant also argues that plaintiff cannot prove age discrimination because the new
  employees were not substantially younger, despite being about 11 years younger than plaintiff.
  As plaintiff correctly points out, there is no bright line for what age qualifies as “substantially
  younger.” See O'Connor v. Consol. Coin Caterers Corp., 517 U.S. 308 (1996). The Sixth Circuit
  has stated that “[a]ge differences of ten or more years have generally been held to be sufficiently
  substantial to meet the requirement of the fourth part of [an] age discrimination prima facie
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  could not be reassigned as her position was terminated and that the younger employees

  were hired for positions that differed markedly from plaintiff’s program manager position

  on Task D. Defendants are correct.

         Plaintiff cannot establish a prima facie case with respect to her February 2016

  termination because she cannot show that her duties were reassigned to substantially

  younger employees. Plaintiff does not dispute that defendants eliminated her previous

  program manager position because the contract to which plaintiff had been assigned

  ended. Plaintiff could not have been replaced because her previous program manager

  position had been eliminated, and her duties could not have been reassigned either. Thus,

  the fact that substantially younger individuals were hired for different positions does not

  show that plaintiff was “replaced by [] substantially younger worker[s].” Mitchell, 12

  F.3d at 1315 (emphasis added). 3 Thus, plaintiff cannot establish her prima facie case of

  age discrimination on the theory that she was replaced by substantially younger

  employees.




  case.” Grosjean v. First Energy Corp., 349 F.3d 332, 336–38 (6th Cir. 2003). In unpublished
  opinions, the Fourth Circuit has for the most part followed this principle. See, e.g., Cramer v.
  Intelidata Techs. Corp., 168 F.3d 481, at *3, 1998 WL 911735 (4th Cir. 1998) (unpublished table
  decision) (“The person who assumed the duties that remained following Cramer's termination
  was only five years younger than Cramer, and not therefore ‘substantially younger’ than Cramer
  in the absence of additional evidence.”); Rhymer v. Yokohama Tire Corp., 106 F.3d 391, at *3,
  1997 WL 14143 (4th Cir. 1997) (unpublished table decision) (“Purdy, age 41, was substantially
  younger than Rhymer, who was 54.”). Ultimately, however, it is unnecessary to reach or decide
  whether these two individuals were substantially younger than plaintiff because plaintiff cannot
  show these employees replaced her, and as noted infra these two employees were better qualified
  than plaintiff for the positions for which they were hired.
  3
   It is worth noting that contrary to plaintiff’s contention, these two individuals were hired before
  plaintiff’s termination, and thus could not have been hired afterwards to replace plaintiff.
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         Plaintiff’s alternative theory is that she was entitled to be reassigned to the new

  positions that the younger individuals were ultimately hired for. Plaintiff bases this

  argument on an assessment of her own qualifications in her deposition testimony, but as

  the Fourth Circuit “has repeatedly explained [] it is the perception of the decision maker

  which is relevant, not the self-assessment of the plaintiff.” DeJarnette v. Corning, Inc.,

  133 F.3d 293, 299 (4th Cir. 1998); see also Evans v. Technologies Applications & Serv.

  Co., 80 F.3d 954, 960-61 (4th Cir. 1996). The undisputed record evidence shows that the

  younger individuals were selected for their positions based on the defendants’ belief that

  they were most qualified for the positions. Carver Pace was offered the cyber program

  manager position in 2016, a position that the defendants have explained required

  extensive knowledge about cyber security. Pace was qualified because he had worked in

  cybersecurity before. By contrast, as the undisputed record reflects, plaintiff had no

  experience in cyber security. Her experience as a program manager on other IT projects,

  while potentially relevant in part to the cyber security program manager position, was

  reasonably judged by defendants to be too far removed from the more specialized nature

  of the cyber security role. Evans, 80 F.3d at 960-61 (holding that with respect to

  employee qualifications “‘[i]t is the perception of the decision maker which is relevant’

  not the self-assessment of plaintiff.”) (quoting Smith v. Flax, 618 F.2d 1062, 1067 (4th

  Cir. 1980)).

         Matt Parsons, the other individual plaintiff alleges replaced her, was hired in an

  overhead Senior Account Executive role. It is true that Parsons was originally hired as a

  program manager on TESS and was ultimately reassigned to the Senior Account

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  Executive role, but Parsons reassignment was the result of a prior contractual

  arrangement between Parsons and the defendants. Because Parsons already had a secure

  job at another company, he needed an assurance that he would have a job at the

  defendants even if the TESS contract was lost. Defendants agreed that they would find

  him another position if the TESS contract was lost in part because of their perception that

  he was well-qualified for potential overhead positions. Plaintiff presents no evidence that

  the decision to reassign Parsons to an overhead position, rather than move plaintiff to that

  position, was based on age-based discriminatory animus.

         It is also worth noting that plaintiff never applied for the positions in question, and

  instead asserts that it was the practice of defendants to offer new positions for

  reassignment. As the undisputed record reflects, there is no evidence to show that the

  defendants’ practice was to always offer reassignment.            Defendants did meet with

  plaintiff about other program manager positions and informed her that none were

  available, and did not offer different positions to the plaintiff. The defendants had no

  duty to offer plaintiff any new positions, 4 and as demonstrated by the termination of a

  number of other Task D employees, it was not defendants’ practice to always offer

  reassignment to its employees when the employee’s contract was terminated. In any

  event, defendants’ decision to place Pace and Parsons in these positions rather than to

  place the less qualified plaintiff in those positions is a reasonable position and it is not the




  4
    See Simpson, 823 F.2d at 943 n. 6 (“When an employer reduces its work force for economic
  reasons, it incurs no duty to transfer the employee to another position within the company”).
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  role of the courts to question employer’s decisions about personnel management. See

  Dejarnette, 133 F.3d at 299.

         Even if plaintiff could establish a prima facie case of age discrimination, her

  ADEA claim would still fail because defendants had a legitimate, non-discriminatory

  reason for plaintiff’s February 2016 termination and plaintiff has not pointed to any

  evidence in the summary judgment record to show that this legitimate nondiscriminatory

  reason was pretextual. As noted, even if plaintiff’s claim were to proceed on a theory

  that she should have been reassigned to the positions the younger individuals were

  ultimately hired for, it is undisputed that the defendants viewed the younger employees as

  more qualified for their positions and the plaintiff’s assertion that she was in fact most

  qualified is insufficient to rebut the defendants’ preference. See Evans, 80 F.3d at 960-

  61.

         In sum, plaintiff has failed to meet her burden of showing the defendants’

  judgment about the relative qualifications of the plaintiff and the two younger new hires

  were not the true reasons for the decision to hire those individuals instead of plaintiff, and

  accordingly she cannot show that age was the “determining factor” behind the decision to

  fire her. Duke, 928 F.2d at 1417. Nor can she show that there is any triable issue of fact

  on that issue. Accordingly, summary judgment on plaintiff’s ADEA claim is appropriate.

                                               C.

         Plaintiff contends that her termination in February 2016 violated Title VII’s

  prohibition on sex discrimination. Here, too, the undisputed record warrants the grant of

  summary judgment to defendant on this claim.

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         To establish a prima facie case of sex discrimination under Title VII, a plaintiff

  must show: “(1) membership in a protected class; (2) satisfactory job performance; (3)

  adverse employment action; and (4) that similarly-situated employees outside of the

  protected class received more favorable treatment.” Young v. United Parcel Service, Inc.,

  707 F.3d 437, 449-50 (4th Cir. 2013). Defendants do not contest the first three elements;

  therefore the only argument is over whether similarly-situated employees outside the

  protected class received more favorable treatment.

         Plaintiff’s theory of sex discrimination mirrors her theory of age discrimination.

  She argues that Pace and Parsons were hired to replace her position, or in the alternative

  that Pace and Parsons were given reassignment opportunities instead of plaintiff, on

  account of sex as well as age. Putting aside the effect that such a hybrid theory might

  have on plaintiff’s ability to demonstrate causation for her claims, 5 her Title VII claim

  fails for the same reasons that doomed her ADEA claim. Plaintiff cannot show that she

  was replaced by Pace and Parsons because plaintiff’s position ended and because Pace

  and Parsons were hired for significantly different positions, and plaintiff presents no

  admissible record evidence to rebut the defendants’ determination that Pace and Parsons



  5
    Defendants argue that because plaintiff asserts multiple bases of discrimination, including age,
  sex, and disability, she cannot establish causation for any of her claims. Because plaintiff is
  unable to show pretext with respect to any of her claims, however, there is no need to address
  this issue. It is sufficient to point out that the Supreme Court has allowed claims alleging
  multiple forms of discrimination, see, e.g., Phillips v. Martin Marietta Corp, 400 U.S. 542
  (1971), and that in general to prove causation a plaintiff need only show that discrimination was
  a motiving factor for an adverse employment action. See 42 U.S.C. § 200e-2(m) (plaintiff must
  show sex “was a motivating factor for any employment practice, even though other factors also
  motivated the practice”); Baird ex rel. Baird v. Rose, 192 F.3d 462, 470 (4th Cir. 1999) (holding
  disability discrimination need only be a motivating factor).
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  were more qualified than plaintiff for these new positions. See Part II.B infra. As such,

  summary judgment must be granted on plaintiff’s Title VII sex discrimination claim.

                                              D.

         Plaintiff’s final claim is for retaliation under the FMLA. She contends that her

  February 2016 termination was in retaliation for plaintiff’s taking medical leave

  following her December 2015 hip surgery. To establish a prima facie case of retaliation

  in violation of the FMLA, a plaintiff must establish: “(1) the employee engaged in a

  protected activity, such as taking FMLA leave; (2) the employer then took an adverse

  employment action against her; and (3) the adverse action was causally connected to the

  plaintiff’s protected activity.” Weth v. O’Leary, 796 F.Supp.2d 766, 780-81 (E.D. Va.

  2011). Of course, even assuming plaintiff could show the prima facie case, it is still open

  to defendants to adduce a legitimate non-discriminatory reason that is not pretextual.

  Defendants do not contest the first two elements of the prima facie case, and thus the

  parties focus only on whether plaintiff can show the requisite causation to establish the

  prima facie case.

        The first question is whether a causal connection exists between plaintiff’s firing

  and her taking medical leave in December 2015. Defendants were aware of plaintiff’s

  December surgery in April 2015 and approved her requested medical leave. Plaintiff was

  allowed to take leave and returned to work for two months after her surgery was

  completed and she was cleared to return to work. Plaintiff again argues that the two

  month gap between her leave and termination is sufficient to support the inference that



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  defendants acted in retaliation for plaintiff’s taking protected leave. 6 As explained supra,

  even assuming arguendo that a two month gap allowed an inference of causation

  sufficient for plaintiff to establish her prima facie case, plaintiff’s FMLA retaliation claim

  would nevertheless fail because defendants had a legitimate, non-discriminatory reason

  for terminating plaintiff and she cannot establish that those reasons were pretextual

  through proximity alone. Plaintiff was terminated because the contract to which she was

  assigned ended. Further, plaintiff was not reassigned to a new contract or rehired for a

  new position because other individuals were deemed to be more qualified for those

  positions. See supra Part II.A. As a result, plaintiff’s FMLA retaliation claim cannot

  survive summary judgment.

                                                 III.

         In summary, the undisputed factual record reflects that plaintiff cannot establish a

  prima facie case of disability discrimination, age discrimination, sex discrimination, or

  FMLA retaliation, and plaintiff cannot rebut defendants’ legitimate nondiscriminatory

  reason for the plaintiff’s February 2016 termination. Furthermore, there is no basis in the

  record for concluding that defendants’ reasons for terminating plaintiff were pretextual.



  6
    Plaintiff points to the termination of two other employees, Susan Kuiler and Jill Czelusniak, as
  well to show retaliation. The circumstances surrounding their terminations and their testimony
  does not support plaintiff’s claim. First, Kuiler never took protected leave and so her ultimate
  termination does not support an inference of retaliatory intent or that the defendants had a
  practice of terminating employees who took leave. Second, while Czelusniak did take leave in
  2014 and 2015, her termination came in September 2015 at the request of the government client,
  not in retaliation for her having taken protected leave. Finally, both individuals and the
  defendants agree that Kuiler and Czelusniak were terminated for legitimate, non-discriminatory
  reasons. Thus, plaintiffs reliance on these other employees to establish a pattern or practice of
  discrimination is misplaced.
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